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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

         v.                                              Criminal Action No. 21-214 (JDB)
 JOSEPH LINO PADILLA,
 also known as “Jose Padilla,”
         Defendant.


                                              ORDER

       Before the Court is defendant Joseph Lino Padilla’s motion requesting access to the

discovery in his case. See Def.’s Req. for Access to Disc. [ECF No. 70] (“Disc. Mot.”).

Specifically, Padilla requests (1) “personal access” to “a computer that he can use continuously

from now until the completion of his trial,” (2) access to Relativity, which houses general

discovery from the government, (3) “full time access to his case specific discovery, which is in the

possession of the jail,” and (4) “several weekly one-hour phone calls with his attorneys.” Id. at 1–

2. For the reasons explained below, the Court will deny Padilla’s request for personal access to

Relativity and will hold his remaining requests in abeyance pending a joint status report by the

parties addressing resolution as to those issues.

                                           Background

       Padilla has been charged with 12 counts related to his participation in the events at the

Capitol on January 6, 2021. See Indictment [ECF No. 48]. He has been detained pending trial

since his arrest on February 23, 2021, see Feb. 23, 2021 Min. Entry, and is currently detained at

the Correctional Treatment Facility (“CTF”) in Washington, D.C., Disc. Mot. at 1. His trial is

scheduled to begin May 1, 2023. See Feb. 15, 2023 Min. Entry.



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       On April 9, 2021, upon a motion by the government, the Court entered an unopposed

protective order governing discovery in this case. See Protective Order Governing Disc. [ECF No.

14] (“Protective Order”). Relevant here, the protective order provides that “[d]efense counsel may

not provide a copy of Highly Sensitive materials to Defendant or permit Defendant to view such

materials unsupervised by defense counsel or an attorney, investigator, paralegal, or support staff

person employed by defense counsel.” Protective Order at 3. “Highly Sensitive materials” include

“[p]ersonal identity information,” “[i]nformation regarding the government’s confidential

sources,” “[i]nformation that may jeopardize witness security,” information related to “individuals

that do not appear to be related to the criminal conduct in this case,” “[m]edical or mental health

records,” surveillance footage from the Capitol, and “[m]aterials designated as ‘security

information’ pursuant to 2 U.S.C. § 1979.” Id. at 1–2.

       On February 23, 2023, Padilla filed the instant motion requesting personal access to

discovery in his case. See Disc. Mot. He identifies issues relating to both his access to evidence

and his ability to communicate with his counsel. See id. Regarding his access to evidence, Padilla

claims he “has limited access to a computer to review case specific discovery” because he “must

request use of a computer and, once obtained, he can keep the computer for two weeks and then it

goes back into the pool. With the current waiting list, it can take months to get a computer.” Id.

at 1. He further claims that his lack of access to Relativity “limits his ability to conduct his own

evidence search and review.” Id. He contends that personal, continuous access to a computer is a

reasonable request in this case because there is a “vast amount of evidence that is available for

review.” Id. at 2. Regarding his access to counsel, Padilla represents that “[t]hrough no fault of

his own, [he] has had his access to counsel limited” because “[r]ecently the phone system has

changed and [he] is now limited to 15 minutes [with] a 15 minute ‘cooling off’ period before a



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second call,” “effectively provid[ing] 15 minute consults instead of 1 hour consults” as was the

case previously. Id. at 1–2.

       On March 2, 2023, the government filed a response opposing only Padilla’s request for

“access to the Relativity global discovery database without presence of his counsel.” See United

States’ Opp’n to Disc. Mot. [ECF No. 71] (“Gov’t Opp’n”) at 1. Padilla did not file a reply. The

motion is now ripe for decision.

                                             Analysis

  I.   Request for Access to Relativity

       Padilla requests personal access to Relativity, the database the government uses to house

global discovery related to January 6. Disc. Mot. at 1–2. The government opposes this request,

arguing that this access is prohibited by the existing protective order, and there is good cause to

continue to restrict Padilla’s access to this database. See Gov’t Opp’n at 2–4.

       Federal Rule of Criminal Procedure 16(d)(1) provides that “[a]t any time the court may,

for good cause, deny, restrict, or defer discovery or inspection, or grant other appropriate relief.”

Requests to limit discovery under Rule 16(d)(1) are subject to a “balancing of interests.” United

States v. Williams Cos., 562 F.3d 387, 395 (D.C. Cir. 2009). Courts “balanc[e] the public interest

in protecting the flow of information against the individual’s right to prepare his defense.” United

States v. Celis, 608 F.3d 818, 831 (D.C. Cir. 2010). “It is well established that protective orders

are appropriate where the disclosure of discovery could jeopardize the national security of the

United States, compromise an ongoing investigation, or infringe on the privacy of uncharged third

parties and others associated with a case.” United States v. Concord Mgmt. & Consulting LLC,

404 F. Supp. 3d 67, 75 (D.D.C. 2019).




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       The government argues that Padilla’s access to the Relativity database should continue to

be restricted because it contains “highly sensitive material,” as defined by the protective order.

See Gov’t Opp’n at 3–4. It claims that “[t]he global discovery contained in the Relativity database

far exceeds the information to which the defendant is entitled under Federal Rule of Criminal

Procedure 16, the Jencks act, or the government’s Brady obligations.” Id. at 3. The government

represents that this database contains “over 60,000 tips provided to the FBI[,] information that if

disclosed, would reveal the identities of tipsters and could jeopardize their safety,” as well as

“background information, including personal identity information accumulated about

investigation subjects—including uncharged individuals[—]and financial, communications, and

travel records pertaining to investigation subjects.” Id. It argues that if the Court granted Padilla

access, “he would gain unmonitored access to hundreds of thousands of documents containing

such sensitive information.” Id. Moreover, and perhaps most importantly, Padilla “already has

access to [Relativity] by way of his attorney who has long had full access to global discovery to

aid in the defendant’s preparation for trial.” Gov’t Opp’n at 3.

       Padilla advances no legitimate reason why the unopposed protective order should be

modified to allow him unfettered and unsupervised access to Relativity, which contains global

discovery, not even his case-specific discovery. He merely states that he has “no way to review

the general discovery that is in the possession of the government” absent “relying on others to

identify case specific materials.” Disc. Mot. at 1. Given the information-security concerns

highlighted by the government, as well as the fact that Padilla already has access to this global

discovery through his counsel, the Court will decline to modify the protective order and will

accordingly deny this aspect of Padilla’s motion.




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 II.   Other Requests for Access to Evidence and Counsel

       In addition to access to Relativity, Padilla requests “personal access” to “a computer that

he can use continuously from now until the completion of his trial,” “full time access to his case

specific discovery, which is in the possession of the jail,” and “several weekly one-hour phone

calls with his attorneys.” Disc. Mot. at 1–2.

       The Court is certainly sympathetic to the allegedly long wait times to obtain a computer to

review discovery and agrees that, if true, this could hamper Padilla’s right to assist in his defense.

However, the Court is skeptical that the provision of a “personal computer” is an appropriate

solution to this problem, given that it is not possible to provide every defendant in CTF with a

personal computer. The Court also worries that, to the extent his case-specific discovery includes

“Highly Sensitive material,” full-time, unsupervised access to that discovery would contravene the

protective order’s mandate that “[d]efense counsel may not provide a copy of Highly Sensitive

materials to Defendant or permit Defendant to view such materials unsupervised by defense

counsel or an attorney, investigator, paralegal, or support staff person employed by defense

counsel.” Protective Order at 3. The Court is also sympathetic to Padilla’s trouble communicating

with his counsel and acknowledges that 15-minute phone calls with mandated 15-minute cooling

off periods could impede Padilla’s right to assist in his defense. However, the Court is reticent

that “several weekly one-hour phone calls with his attorneys” is the appropriate solution, as this

request is vague (it does not specify the precise number of phone calls) and it would strain

resources if every defendant in CTF were to receive “several” one-hour phone calls every week.

       Thus, the Court directs the parties to confer to develop a solution for Padilla to have

appropriate access to discovery and communication with his counsel to the extent that such access

and communications are currently being unduly restricted by CTF. The parties shall file a joint



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status report by not later than March 29, 2023 updating the Court as to the resolution of these

issues. The Court will accordingly hold those aspects of Padilla’s motion in abeyance pending

receipt of that status report.

                                          *       *      *

        Upon consideration of [70] defendant’s motion for access to his discovery, and the entire

record herein, and for the reasons stated above, it is hereby

        ORDERED that [70] defendant’s motion for unsupervised, personal access to Relativity

is DENIED; it is further

        ORDERED that the parties shall meet and confer to discuss appropriate resolutions to the

remaining requests in defendant’s motion and shall file a joint status report updating the Court on

the resolution as to those issues by not later than March 29, 2023; and it is further

        ORDERED that defendant’s remaining requests in [70] his motion for access to discovery

shall be HELD IN ABEYANCE pending the filing of the joint status report.

        SO ORDERED.



                                                                             /s/
                                                                      JOHN D. BATES
                                                                 United States District Judge


Dated: March 14, 2023




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